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 7

 8                              UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                    OAKLAND DIVISION
11

12   WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
13   corporation,                                 DEFENDANTS’ OBJECTIONS TO
                                                  REPLY EVIDENCE [L.R. 7-3(d)]
14               Plaintiffs,
                                                  [REDACTED VERSION OF
15         v.                                     DOCUMENT FILED UNDER SEAL]
16   NSO GROUP TECHNOLOGIES LIMITED
     and Q CYBER TECHNOLOGIES LIMITED,
17
                     Defendants.
18

19                                                Date: November 7, 2024
                                                  Time: 1:30 p.m.
20                                                Place: Courtroom 3, Ronald V. Dellums
                                                         Federal Building & U.S. Courthouse,
21                                                       1301 Clay Street, Oakland, California
22
                                                  Action Filed: 10/29/2019
23

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 1            Plaintiffs continue to disrespect this Court’s rules, and its authority to make them, by acting
 2   as if those rules do not apply to them. Even though “[i]t is well accepted that raising of new issues
 3   and submission of new facts in a reply brief is improper,” Roe v. Doe, 2009 WL 1883752, at *5
 4   (N.D. Cal. June 30, 2009) (Hamilton, J.) (cleaned up), Plaintiffs submitted with their summary
 5   judgment reply a new declaration from their expert David Youssef (Dkt. 436-5, “Youssef Decl.”)
 6   containing numerous new assertions that Plaintiffs did not submit with their motion (“MSJ”). But
 7   because they did not include that evidence in their MSJ—or produce it in discovery or disclose it
 8   under Rule 26—they may not submit it for the first time now.
 9   I.       Plaintiffs improperly submit new evidence on the WhatsApp Terms of Service.
10            Plaintiffs moved for summary judgment on their breach of contract claim, which requires
11   them to prove Defendants (“NSO”) assented to the WhatsApp TOS. “It is [Plaintiffs’] burden to
12   show assent, not [NSO’s] to show lack thereof.” Jackson v. Amazon.com, 65 F.4th 1093, 1100 (9th
13   Cir. 2023). Yet Plaintiffs submitted no evidence with their MSJ—and produced no evidence in
14   discovery—that they “provide[d] reasonably conspicuous notice of” the TOS and required
15   consumers to “unambiguously manifest [their] assent.” Berman v. Freedom Fin. Network, LLC,
16   30 F.4th 849, 856 (9th Cir. 2022). In connection with their reply, however, Plaintiffs newly asked
17   Mr. Youssef to opine for the first time about how WhatsApp presented its TOS in its Android app,
18   including by submitting purported screenshots from the Android app. (Youssef Decl. ¶¶ 15-17.)
19            That is improper for multiple reasons. First, Plaintiffs may not submit this new evidence
20   for the first time with their reply. Second, Mr. Youssef’s new opinions were not timely disclosed
21   in his expert reports. Third, whether NSO assented to the TOS is not a proper topic for expert
22   testimony. Fourth, Mr. Youssef’s opinions are irrelevant.
23            A.     Plaintiffs may not submit new, unproduced evidence with their reply.
24            Plaintiffs may not rely on Mr. Youssef’s new declaration to support their breach of contract
25   claim because “submission of new facts in a reply brief is improper.” Roe, 2009 WL 1883752, at
26   *5 (cleaned up); see Unite Here Ret. Fund v. City of San Jose, 2023 WL 5181633, at *7 (N.D. Cal.
27   Aug. 11, 2023) (striking reply declaration on contract formation). Plaintiffs’ MSJ did not include
28   Mr. Youssef’s opinions on “how WhatsApp’s registration process would have appeared.” (Youssef


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 1   Decl. ¶¶ 15-17.) Plaintiffs may not submit that evidence for the first time on reply.1
 2          That is particularly true when Plaintiffs did not even produce the evidence Mr. Youssef
 3   purports to submit. NSO’s requests for production requested documents related to WhatsApp’s
 4   TOS as well as “all … Documents that Plaintiffs may use to support their claims.” (Craig Decl.
 5   ¶ 2 & Exh. A at RFP Nos. 230-231.) In response to those requests, Plaintiffs did not produce any
 6   screenshots or other visual evidence of how WhatsApp discloses its TOS. (Id.) Plaintiffs also did
 7   not identify any screenshots in their Rule 26 disclosure of “documents, data compilations, and
 8   tangible things that Plaintiffs … may use to support their claims.” (Id. ¶ 3; Dkt. 419-5, Exh. G.)
 9   Plaintiffs may not seek summary judgment based on evidence they did not produce or disclose, and
10   they certainly may not do so for the first time on reply. Moore v. Nat. Life Inc., 2021 WL 2546270,
11   at *1 (D. Nev. June 18, 2021) (striking evidence submitted with summary judgment reply that was
12   not produced or identified in Rule 26 disclosures).2 Plaintiffs’ attempt to do so “demonstrates
13   willful behavior designed to disrupt the efficient resolution of this matter.” Id.
14          Plaintiffs’ failure to submit their proffered evidence earlier has prejudiced NSO. Whether
15   Plaintiffs provided adequate notice of WhatsApp’s TOS requires a highly fact-specific inquiry into
16   how WhatsApp visually presents its terms to consumers. (Dkt. 419-2 at 3-4.) Had Plaintiffs
17   produced screenshots in discovery, NSO would have taken deposition discovery from Plaintiffs’
18   witnesses about them.3 Had Plaintiffs submitted screenshots with their MSJ, NSO would have
19   explained in its opposition why they do not conspicuously disclose the TOS. See Berman, 30 F.4th
20    1
         See also, e.g., AboveGEM, Inc. v. Organo Gold Mgmt., 2020 WL 1531322, at *4 (N.D. Cal.
21   Mar. 31, 2020) (Hamilton, J.); Rodgers v. Chevys Restaurants, LLC, 2015 WL 909763, at *5 (N.D.
     Cal. Feb. 24, 2015); Contratto v. Ethicon, Inc., 227 F.R.D. 304, 308 n.5 (N.D. Cal. 2005).
22     2
         See also HP Tuners, LLC v. Cannata, 2022 WL 2955111, at *2 (D. Nev. July 26, 2022) (striking
     unproduced evidence in surreply); Cascade Yarns, Inc. v. Knitting Fever, Inc., 2014 WL 11881033,
23
     at *3 (W.D. Wash. Apr. 14, 2014) (striking unproduced screenshot submitted with reply);
24   Karpenski v. Am. Gen. Life Cos., 999 F. Supp. 2d 1235, 1241 (W.D. Wash. 2014) (striking
     unproduced evidence in supplemental summary judgment brief).
25     3
         Plaintiffs’ designated Jonathan Lee as their representative on topic 41: “The process by which
     users in Israel could accept WhatsApp’s Terms of Service in order to sign up for WhatsApp
26   accounts in 2018, 2019, and 2020, including whether the TOS were required to be opened or read.”
27   (Craig Decl ¶ 5.) But Mr. Lee testified he had not reviewed any evidence on the topic and was
     relying solely on hearsay from Meghan Andre and Calvin Pappas, whom Plaintiffs did not identify
28   in their Rule 26 disclosures. (Craig Exh. B at 13:19-14:6, 175:2-185:19.) For Plaintiffs to wait
     until now to submit purported evidence of the signup process is bad-faith gamesmanship.
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 1   at 856-58. But NSO could not take those steps because discovery and summary judgment briefing
 2   have concluded. See L.R. 7-3(d). Because NSO thus “lacks any opportunity to respond to
 3   [Plaintiffs’] late-submitted evidence,” it must be stricken. Karpenski, 999. F. Supp. 2d at 1241.
 4            B.     Mr. Youssef may not offer undisclosed opinions on contract formation.
 5            Mr. Youssef’s new opinions on contract formation are also improper because they were not
 6   disclosed in any expert report. The deadline for Rule 26(a)(2) expert disclosures was August 30,
 7   2024. In his opening report on that date, Mr. Youssef’s opinion on contract formation was, in full:
 8   “[T]he user’s acceptance of WhatsApp’s Terms of Service … must be done before completing the
 9   WhatsApp registration process. Only once the sign-up process has been completed can the user
10   access the WhatsApp services and the full functionality of the WhatsApp Client Application.”
11   (Youssef Decl. Exh. A ¶ 96.)4 Mr. Youssef stated no basis for that opinion and did not submit any
12   screenshots or other visual evidence of how WhatsApp discloses the TOS to users. Only after NSO
13   opposed Plaintiffs’ MSJ—nearly a month after the expert disclosure deadline—did Plaintiffs ask
14   Mr. Youssef to supplement his report by “determining … how WhatsApp’s registration process
15   would have appeared to NSO in 2018 and 2019.” (Youssef Decl. ¶ 15.)
16            That violates Rule 26(a)(2), which required Plaintiffs to timely provide “a complete
17   disclosure of all opinions—not a sneak preview of a moving target.” Mariscal v. Graco, Inc., 52
18   F. Supp. 3d 973, 983 (N.D. Cal. 2014). A party may supplement an expert report only to “correct[]
19   inaccuracies, or fill[] the interstices of an incomplete report based on information that was not
20   available at the time of the initial disclosure.” Luke v. Family Care & Urgent Med. Clinics, 323 F.
21   App’x 496, 500 (9th Cir. 2009). A “supplemental expert report that states additional opinions or
22   seeks to strengthen or deepen opinions expressed in the original expert report is beyond the scope
23   of proper supplementation and subject to exclusion.” Plumley v. Mockett, 836 F. Supp. 2d 1053,
24   1062 (C.D. Cal. 2010) (cleaned up). Plaintiffs, by asking Mr. Youssef to submit new screenshots
25   and newly opine as to the appearance of WhatsApp’s registration process, are either offering an
26   additional opinion or seeking to bolster Mr. Youssef’s “disclosures in light of [NSO’s] challenges
27   … after the court’s deadline for doing so has passed.” Luke, 323 F. App’x at 500. Neither is proper.
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      4
          Mr. Youssef’s rebuttal report contains no opinions about contract formation.
                                             3
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 1          Plaintiffs cannot use such untimely expert opinions to support their MSJ. Id.; Mariscal, 52
 2   F. Supp. 3d at 983-84; Rodgers, 2015 WL 909763, at *5; Plumley, 836 F. Supp. 2d at 1062. Plaintiffs
 3   have always known they must prove contract formation, and their burden of proof has been clear
 4   for years. Berman, 30 F.4th at 856-58. They obviously could have produced screenshots of their
 5   own app in discovery and asked Mr. Youssef to include those screenshots in his opening report.
 6   They may not withhold such evidence from discovery, Mr. Youssef’s reports, and their MSJ, then
 7   use their reply “to sandbag [NSO] with claims and issues which should have been included in the
 8   expert witness’ report (indeed, the lawsuit from the outset).” Mariscal, 52 F. Supp. 3d at 983-84.5
 9          C.      Contract formation is not a proper subject for expert testimony.
10          Even if Mr. Youssef’s new opinions on contract formation were timely, they are not proper
11   expert opinion. Whether Plaintiffs adequately disclosed the TOS, and whether NSO assented to them,
12   are legal questions on which experts may not opine. Nationwide Transp. Fin. v. Cass Info. Sys., 523
13   F. 3d 1051, 1058-60 (9th Cir. 2008); AWI Builders, Inc. v. Thyssenkrupp Elevator Corp., 2023 WL
14   7280451, at *5 (C.D. Cal. Aug. 21, 2023). Nor may Plaintiffs use an expert merely to submit factual
15   evidence—such as screenshots of their app—that they should have produced in discovery or through
16   percipient witnesses. Siqueiros v. Gen. Motors LLC, 2022 WL 74182, at *9 (N.D. Cal. Jan. 7, 2022);
17   Fujifilm Corp. v. Motorola Mobility LLC, 2015 WL 757575, at *27 (N.D. Cal. Feb. 20, 2015); see
18   Jarose v. Cty. of Humboldt, 2023 WL 2333880, at *8-9 (N.D. Cal. Mar. 1, 2023) (excluding
19   materials in expert report “that were not properly disclosed prior to the close of discovery”).
20          D.      Mr. Youssef’s opinions on contract formation are irrelevant.
21          Finally, Mr. Youssef’s new opinions on contract formation are irrelevant. He reviewed only
22   “Android Package Kits” for “mobile Android applications” (Youssef Decl. ¶ 16), which reveal
23   nothing about how WhatsApp presented its TOS on its webpage, Apple (iOS) devices, or any other
24   non-Android device. Plaintiffs, however, have not submitted any evidence that NSO created
25   WhatsApp accounts using Android devices. Thus, Mr. Youssef’s opinions are irrelevant to NSO’s
26
      5
27       Accord In re Toy Asbestos Litig., 2020 WL 8815916, at *3 (N.D. Cal. May 27, 2020);
     Opticurrent, LLC v. Power Integrations, 2018 WL 6727826, at *5 (N.D. Cal. Dec. 21, 2018); Silong
28   v. United States, 2007 WL 2712100, at *5 (E.D. Cal. Sept. 14, 2007).

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